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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 KIM GUNTER,

              Plaintiff,
                                              Case No. 2:23-cv-02451-JDW
       v.

 DREXEL UNIVERSITY,

              Defendant.


                                         ORDER

      AND NOW, this 10th day of June, 2024, upon review of Plaintiff Kim Gunter’s

Motion To Supplement, Redact, And/Or Seal Exhibits (ECF No. 82), it is ORDERED that the

Motion is GRANTED. To the extent it is necessary, I will consider the additional materials

at ECF Nos. 82-2 thru 82-20 when reviewing the Parties’ briefing in connection with

Defendant Drexel University’s dispositive motion. As such, there is no reason for Ms.

Gunter to “replace” any exhibits that are already on the docket.

                                                BY THE COURT:


                                                /s/ Joshua D. Wolson
                                                JOSHUA D. WOLSON, J.
